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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE PLAYERS’
CONCUSSION INJURY LITIGATION

                                                                   No. 2:12-md-02323-AB
Kevin Turner and Shawn Wooden, on behalf of themselves
and others similarly situated,                                     MDL No. 2323
                                     Plaintiffs,                   Hon. Anita B. Brody
                              v.

National Football League and NFL Properties LLC,                   CIVIL ACTION NO: 2:14-cv-
successor-in-interest to NFL Properties, Inc.,                     00029-AB
                                     Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS

       SUPPLEMENTAL DECLARATION OF CHRISTOPHER A. SEEGER IN
        FURTHER SUPPORT OF CO-LEAD CLASS COUNSEL’S PETITION
     FOR AN AWARD OF ATTORNEYS’ FEES, REIMBURSEMENT OF COSTS
      AND EXPENSES, ADOPTION OF A SET-ASIDE FROM MONETARY AND
    DERIVATIVE CLAIMANT AWARDS, AND CASE CONTRIBUTION AWARDS
     FOR CLASS REPRESENTATIVES, AND IN OPPOSITION TO OBJECTORS’
    CROSS-PETITIONS FOR AWARDS OF ATTORNEYS’ FEES AND EXPENSES

       CHRISTOPHER A. SEEGER declares, pursuant to 28 U.S.C. § 1746, based upon his

personal knowledge, the following:

       1.      I am fully familiar with the matters set forth herein, including the procedural history

of this litigation and the class-wide settlement that this Court approved. I submit this Supplemental

Declaration in further support of the consolidated petition of Class Counsel for a global award of

attorneys’ fees and reimbursement of expenses, the adoption of a set-aside of five percent of each

Monetary Award and Derivative Claimant Award (“Class Counsel’s Fee Petition”), and case

contribution (i.e., incentive or service) awards for the Subclass Representatives, and in opposition
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to the three objector cross-petitions for awards of attorneys’ fees and expenses, filed by the so-

called Faneca Objectors, Armstrong Objectors, and Jones Objectors (ECF Nos. 7070, 7230,

7364).1

          2.   Annexed hereto as Exhibit Z is the Declaration of Bradford R. Sohn, dated March

28, 2017 (“Sohn Declaration”), in support of Class Counsel’s Fee Petition. As he explains in his

Declaration, Mr. Sohn was unable to prepare it in time for the filing of Class Counsel’s Fee Petition

because the materials for the submission of common benefit time and expenses had been sent to

his former law firm and there was a delay in those materials being forwarded to him. Mr. Sohn’s

lodestar for common benefit work performed in this litigation is $26,250. When added to the

$40,559,978.60 lodestar set forth in Class Counsel’s Fee Petition, see ECF No. 7151-1, at 64, that

now brings the total adjusted lodestar to $40,586,228.60.

          3.   Annexed hereto as Exhibit AA is a true copy of the petition (of which the exhibits

thereto have been omitted), pursuant to Rule 23(f) of the Federal Rules of Civil Procedure, that the

Faneca Objectors (at the time known as the Morey Objectors) filed in the United States Court of

Appeals for the Third Circuit (“Third Circuit”) on July 21, 2014, seeking permission to appeal this

Court’s preliminary approval of the pre-amended settlement and its preliminary certification of the

settlement class.

          4.   Annexed hereto as Exhibit BB is a true copy of the reply that the Faneca (formerly

known as the Morey) Objectors filed on August 14, 2014, in support of their Rule 23(f) petition to

the Third Circuit.



          1
          For the sake of brevity and simplicity, in this Supplemental Declaration I borrow the
shorthand definitions that are employed in the opening memorandum of law in support of Class
Counsel’s Fee Petition (ECF No. 7151-1) and the accompanying omnibus reply memorandum of
law.



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        5.     Annexed hereto as Exhibit CC is a true copy of the corrected opening brief that the

Armstrong Objectors filed in the Third Circuit on September 14, 2015 (the original brief having

been filed on August 24, 2015), in support of their appeal of this Court’s April 22, 2015 Final

Approval of the Settlement.

        6.     Annexed hereto as Exhibit DD is a true copy of the reply brief that the Armstrong

Objectors filed in the Third Circuit on October 7, 2015, in further support of their appeal of this

Court’s Final Approval of the Settlement.

        7.     Annexed hereto as Exhibit EE is a true copy of the opposition that Class Plaintiffs

filed in the Third Circuit on October 13, 2015, in opposition to the motion of the Armstrong

Objectors to take judicial notice of certain complaints that were already part of the record.

        8.     Annexed hereto as Exhibit FF is a true copy of the opposition that the Armstrong

Objectors filed in the Third Circuit on June 1, 2015, to Class Plaintiffs’ motion to expedite the

briefing of the various objector appeals of this Court’s April 22, 2015 Final Approval decision.

        9.     Annexed hereto as Exhibit GG is a true copy of the petition for writ of certiorari

(with appendices omitted) that the Armstrong Objectors filed in the United States Supreme Court

(“Supreme Court”) on September 26, 2016 (No. 16-413), seeking review the Third Circuit’s April

18, 2016 decision affirming this Court’s Final Approval of the Settlement.

        10.    Annexed hereto as Exhibit HH is a true copy of the reply in support of their petition

for writ of certiorari that the Armstrong Objectors filed in the Supreme Court on November 21,

2016.

        11.    Annexed hereto as Exhibit II is a true copy of the docket of the Armstrong

Objectors’ petition for writ of certiorari. This docket printout was obtained from the Supreme

Court’s website (https://www.supremecourt.gov/search.aspx?filename=/docketfiles/16-413.htm)




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(last accessed Mar. 31, 2017), and shows the two extensions granted by Justice Alito (over the

opposition of Class Counsel) on the motions of counsel for the Armstrong Objectors for extensions

of time to file their certiorari petition.

        12.     Annexed hereto as Exhibit JJ is a true copy of a report dated April 10, 2017, entitled

An Updated Analysis of the NFL Concussion Settlement, which was prepared by Dr. Thomas

Vasquez of Ankura Consulting Group.

        13.     Annexed hereto as Exhibit KK is a true copy of the Declaration of Claims

Administrator, Orran L. Brown, Sr., dated April 10, 2017.

        14.     With respect to their request for a five-percent set-aside in their opening fee petition

papers, Co-Lead Class Counsel provided multiple examples of the types of work that would be

required as the Settlement was administered over the next 65 years. Nevertheless, because several

objectors demand more detail, I set it forth herein.2

        15.     By way of example and based upon the limited data available thus far, in the first

quarter of 2017 alone, my firm (Seeger Weiss LLP) already has invested over $600,000 in lodestar

devoted to the below-described tasks. Two senior attorneys at Seeger Weiss (including one

partner) have been working virtually full-time, and another attorney as well as a paralegal have

been working part-time, on these common benefit implementation-related tasks since even before

the Settlement’s January 7, 2017 Effective Date. The work that they have done (and will do in the

future) is enumerated below and captures only the major tasks that have been undertaken and can

be anticipated to launch and maintain the Settlement Program.



        2
          To date, most of the of the Settlement implementation work has been performed by the
Co-Lead Class Counsel firms, although other Class Counsel firms have lent assistance, such as
with the vetting of BAP and MAF physicians and review of registration and claim documents. For
the sake of brevity and simplicity, I collectively refer to work done by “Class Counsel.”



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       16.     Both Class Counsel and the Court have recognized the importance of ensuring that

all Class Members received clear, concise notice of the Effective Date for the Settlement and the

need to register by August 7, 2017. To maximize participation, Class Counsel drafted and had the

Claims Administrator disseminate via mail, email, and on the Settlement website

(www.nflconcussionsettlement.com), the Pre-Registration Notice, and once the Registration

opened on February 6, 2017, the formal Supplemental Notice advising that Registration was open

was drafted and disseminated. In addition, Class Counsel are engaged in ongoing efforts to inform

Class Members of the need for and ease of registration to enjoy the benefits of the Settlement,

including further mailings.

       17.     Class Counsel have worked to retain the administrators and Special Masters,

conferring with them and with counsel for the NFL Parties to execute all necessary documentation

for formal retention as well as developing documents that establish the fundamental operation of

each of the Administrators, including Conflict of Interest plans and operational procedures.

       18.     Similarly, we have worked to retain the Settlement Trustee and execute the

necessary documentation to ensure that the Settlement Trust was established and would continue

funding Settlement Benefits throughout the 65-year term of the Settlement.

       19.     In addition, Class Counsel has worked with counsel for the NFL Parties, the

Administrators, and the Settlement Masters to ensure that all forms required for the various

medical providers were created in time to review the documents and vet the medical providers so

as to have selections of providers agreed to by the Settling Parties well in advance of the dates of

launch of the BAP and MAF.

       20.     Class Counsel dedicated many hundreds of hours with the Claims Administrator,

the NFL Parties, and the Special Masters to the negotiation and development of the registration




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forms and procedures to ensure that the process was efficient and accessible so that no eligible

Class Member would be denied entry. Besides the creation of the hard-copy forms, Class Counsel

worked alongside the other parties to launch the on-line registration portal which enables Class

Members to register in a matter of minutes. Underlying the registration process are hundreds of

pages of procedures and other guidance documents that were created through the collaborative

process discussed above.

       21.     Class Counsel has worked and will continue to work with the Claims Administrator

to continually update the Settlement website, including its “Frequently Asked Questions” section.

This work was particularly intense during several critical moments in the Settlement’s life thus

far, including the triggering of the Effective Date, the launch of Registration, and the

commencement of the period to file Claims. This platform is particularly valuable to ensuring that

Class Members have easy access to the most up-to-date information and clear guidance on the

Settlement Program.

       22.     Class Counsel continue to work on revisions to the Settlement website as new

phases begin and additional forms and other documents become available for the Class Members,

such as those relating to the BAP Program and the appeals process. Additionally, Class Counsel

worked with the Claims Administrator to assist in the transition of the handling of Class Member

calls from the Call Center to the Claims Administrator, once the Effective Date was triggered.

       23.     Moreover, Class Counsel worked with counsel for the NFL Parties, the

Administrators, and the Settlement Masters to ensure that all forms needed to submit a claim were

prepared, and that they were all-inclusive and easily understandable. These forms covered not

only the basic claim form, but also the supporting forms that need to be submitted to perfect a

claim, including the Diagnosing Physician Certification Forms, and the Pre-Effective Date




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Diagnosing Physician Certification Form, so that the claims by those Class Members who received

Qualifying Diagnoses prior to the Effective Date can be processed as quickly as possible.

       24.     Additionally, Class Counsel worked with the Claims Administrator, the NFL

Parties and the Special Masters to launch an online Claims Portal, where Class Members are guided

through the claims submission process. Underlying the entire claims process are hundreds of pages

of procedures and other guidance documents that were created through the collaborative process

discussed above.

       25.     As requested by the Court, and as part of their wider efforts to reach out to the Class

about the Settlement Program, Class Counsel prepared a presentation for Class Members for the

February 8, 2017 status conference (which the Court convened to address the status of the

Settlement’s implementation) and arranged for the conference to be live-streamed on the internet.

The presentation at the conference was designed to explain to Class Members watching and

listening to the internet broadcast the next steps they needed to take, to inform them of the efforts

being expended by all involved to get the Settlement programs up and running, to answer

questions, and most of all to encourage registration.

       26.     Additionally, Class Counsel has conducted several webinars to speak to Class

Members through the internet, to encourage registration and to answer questions about the

Settlement, its benefits and how to obtain the benefits. These webinars, like the wider outreach

efforts, will be ongoing.

       27.     Conversely, Class Counsel has had to battle the spreading of misinformation to

Class Members. We have received numerous reports of written and oral communications,

containing inaccurate or misleading information about the Settlement, to Class Members by those

seeking to profit from Class Members by charging fees or securing portions of Class Members’




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anticipated monetary awards. To meet their fiduciary duty, Class Counsel have made every effort

to investigate these reports and to bring matters to the Court’s attention in order to protect Class

Members, and have requested this Court’s intervention where we have deemed it warranted. See

ECF Nos. 7175, 7347 (motions to enjoin improper communications and solicitations of Class

Members).

       28.     Besides the foregoing, a great deal of work has been and will be necessary to select

key officials. The Appeals Advisory Panel is a panel of physicians that will advise this Court with

respect to appeals of benefits determinations, review Qualifying Diagnoses rendered prior to the

Settlement’s Effective Date, and review conflicting opinions of BAP physicians. See Settlement

Agreement §§ 2.1(g), 5.13, 6.4, 9.8. It is composed of, in any combination, five board-certified

neurologists, board-certified neurosurgeons, or other board-certified neuro-specialist physicians.

The Appeals Advisory Panel Consultants is composed of three neuropsychologists, any one of

whom will be eligible to advise the Court, a member of the Appeals Advisory Panel, or the Special

Master concerning neuropsychological testing. See Settlement Agreement § 2.1(h). It was not

easy to reach a consensus with counsel for the NFL Parties upon these eight individuals so that

they could be nominated to the Court, which has the ultimate say in appointments to these

positions, but Co-Lead Class Counsel worked tirelessly for months so that the April 7, 2017

deadline for their selection was met.

       29.     The time-consuming vetting process associated with the selection of those who will

serve as Qualified BAP Providers and Qualified MAF Physicians has led to the initial launch of

the MAF network and preliminary establishment of the BAP Provider network while Co-Lead

Class Counsel and the other relevant parties continue to recruit and contract with additional

physicians and providers. Class Counsel have been participating in this work on virtually a daily




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basis since the Effective Date and fully expect that the BAP Administrator will remain on track to

begin scheduling BAP examinations as of May 7, 2017, with the BAP opening on June 6, 2017.

On April 7, 2017, the list of Qualified MAF Physicians who are authorized to make post-Effective

Date Qualifying Diagnoses was made available on the Settlement website.

       30.     Working with the BAP Administrator, the Claims Administrator, the NFL Parties

and their own experts, Class Counsel have developed the services agreement that each physician

and provider will need to sign to serve in the networks. Through this same process, the Settling

Parties have prepared the manuals that will be used by each of the administrators to train the

physicians and providers on the medical aspects of the settlement, including the testing regimen at

the heart of the BAP Program and what constitutes a Qualifying Diagnosis for the MAF.

       31.     Maintaining these networks over the life of the Settlement will require the same

kind of engagement in recruiting new physicians and providers as the Settlement, like the Retired

NFL Players and the original physicians and providers, age.

       32.     Moreover, Co-Lead Class Counsel will be actively monitoring and reviewing of

these networks to ensure that the Retired NFL Football Players are receiving the care and services

that they deserve under the Settlement.

       33.     Given the Settlement’s 65-year term and the volume of claims that will be

submitted, appeals of Monetary and Derivative Claimant Award determinations will inevitably be

filed, be they disputes of benefit denials or about the amount of an award, and there will likely be

appeals of registration denials as well. Besides Class Members themselves, Section 9.5 of the

Settlement Agreement confers standing on Co-Lead Class Counsel to appeal monetary award

determinations.




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       34.     Class Counsel will be asked to provide assistance to unrepresented Class Members

and to represented Class Members’ individually-retained counsel. Because Class Counsel will

gain experience in the appeal process over time, their assistance will be essential to Class Members

who will face counsel for the NFL Parties on the opposing side. Under Section 9.7(c) of the

Settlement Agreement, Co-Lead Class Counsel also have the authority to make formal submissions

in support of appeals taken by Class Members. As with their authority to file appeals, exercise of

this authority will help to establish a decisional body that will facilitate the delivery of benefits to

the Class. Conversely, Co-Lead Class Counsel also have the authority to oppose appeals of awards

made to Class Members that the NFL may take, which is as important to protecting the rights of

Class Members as much as the appeals taken on Class Members’ behalf.

       35.     Moreover, Class Counsel must continue to monitor the funds and ensure that the

NFL Parties comply with the funding and maintenance of targeted reserves for the MAF and BAP,

as well as monitoring the Settlement Trust and the Trustee, under Article 23 of the Settlement

Agreement.

       36.     Auditing procedures must be established to ensure that all work done by the various

parties engaged in the Settlement Program for the benefit of the Class Members is done with

efficiency and professionalism. The sheer scope of the activities and participants, including each

member of the physician networks, will demand significant time to perform the auditing functions.

Because it is anticipated that the NFL Parties will be engaging in such audits, it is important also

to have Class Counsel involved.

       37.     Inevitably, physicians who have been selected to serve in the various roles will need

to be replaced, whether for reasons of retirement, disability, death, or simply because they decide

they no longer wish to participate in the Settlement Program. The vetting and selection of




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replacement physicians is common benefit work that will need to be repeated hundreds of times

over the 65-year life of the Settlement. Class Counsel already have gained experience in this

process, which will allow physicians to be replaced quickly as they exit the Program.

       38.    Finally, the Settlement Agreement requires that the Settling Parties revisit the

science every ten years to discuss in good faith possible prospective modifications to the

definitions of the Qualifying Diagnoses or the protocols for making Qualifying Diagnoses (or

both), in light of generally accepted advances in medical science. Settlement Agreement § 6.6.

This will require Class Counsel to independently consult with medical and scientific experts to

keep abreast of developments in medicine and science.

       39.    I declare under penalty of perjury that the foregoing is true and correct.

Executed this 10th day of April, 2017.

                                                   /s/ Christopher A. Seeger
                                             ____________________________________
                                                   CHRISTOPHER A. SEEGER
                                                   Co-Lead Class Counsel




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